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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                       No. 1:17-cr-60

             v.                                      Hon. Paul L. Maloney
                                                     United States District Judge
WILLIAM HUGH WILSON,

                  Defendant.
_________________________________/

                         SENTENCING MEMORANDUM

      The defendant, William Wilson, pleaded guilty to being a felon in possession

of firearms, in violation of 18 U.S.C. § 922(g)(1). He is scheduled for sentencing on

October 18, 2017. The government submits this memorandum to address Wilson’s

outstanding objections to the presentence report.

                                 Factual Background

      In December 2016, a reliable confidential informant made a controlled

purchase of cocaine base from a person he/she knew as “Ace.” (R.61: PSR,

PageID.214, ¶ 14.) The purchase took place at a house located at 732 Hawley Street

in Kalamazoo. (Id.) “Ace” was identified as Wilson by the informant. (Id.) Law

enforcement obtained a search warrant for 732 Hawley Street in January 2017. (Id.

at PageID.215, ¶ 16.) When the Hawley Street residence was searched, Wilson,

Rodney Martin, and a third person were present. (Id.) Numerous guns, ammunition,

cocaine, and marijuana were seized from the dining and living rooms. (Id.)

Currency, drug paraphernalia, and items indicative of drug trafficking were also
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seized. (Id. at PageID.215, ¶ 17.) The items consistent with drug trafficking

included plastic bags, digital scales, lottery tickets, and a plate and razor blades

covered with cocaine residue. (Id.)

      Wilson and his codefendant, Martin, declined to speak to the officers

executing the warrant. (Id. at PageID.215, ¶ 18.) The third person present spoke to

police and said he lived at the Hawley address with Wilson and Martin. (Id.) He

was aware of both Wilson and Martin selling cocaine base and had purchased the

same from them. (Id.) He had also seen both Wilson and Martin handle the

shotguns, but had no knowledge about the pistols in the house. (Id.)

      An unrelated defendant told ATF agents that he knew Wilson and Martin

during a proffer interview. (Id. at PageID.216, ¶ 23.) That person had known them

as “Ace” and “Big Boy.” (Id.) The unrelated defendant knew they had been selling

drugs since 2004, and had seen Wilson with firearms on at least three occasions in

2016 on Hawley Street. (Id.) That person said that Wilson was from Detroit, which

is corroborated by Wilson’s self-reported personal data. (Id. at PageID.233-34.)

                                Indictment and Plea

      A federal grand jury returned an indictment for Wilson and Martin, alleging

three counts: being a felon in possession of firearms, in violation of 18 U.S.C.

§ 922(g), possessing with the intent to distribute cocaine, in violation of 21 U.S.C.

§ 841(a)(1), and possessing firearms in furtherance of a drug trafficking crime, in

violation of 18 U.S.C. § 924(c). (R.20: Indictment, PageID.41-43.) Count one of the

indictment also listed 18 U.S.C. § 924(e) in the statutory citations, as the



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government was aware that Wilson qualified for the enhanced sentencing provided

therein and wanted to provide notice to that effect. (Id. at PageID.41.)

      Wilson pleaded guilty to count one of the indictment pursuant to a written

plea agreement. (R.46: Plea Agreement, PageID.91-100.) The plea agreement also

noted that Wilson “may be subject to the enhanced penalties provided in Title 18,

United States Code, Section 924(e)(1).” (Id. at PageID.92, ¶ 3.)

      In preparation for the sentencing hearing, a presentence report was

prepared. (R.61: PSR, PageID.211-46.) The presentence report scored Wilson’s

advisory sentencing guidelines and noted that he “is an armed career criminal and

subject to an enhanced sentence under the provisions of 18 U.S.C. § 924(e).” (Id. at

PageID.220, ¶ 44.) The presentence report did not give Wilson a reduction in his

offense level for acceptance of responsibility. (Id. at PageID.218, ¶¶ 31-32 and

PageID.220, ¶ 46.) Wilson objects to both the designation as an armed career

criminal and the denial of the acceptance of responsibility reduction. (Id. at

PageID.243-45.)

                       The Armed Career Criminal Statute

      The statute designating armed career criminals is 18 U.S.C. § 924(e)(1), which

reads in pertinent part, “[i]n the case of a person who violates section 922(g) of this

title and has three previous convictions by any court … for … a serious drug offense

… committed on occasions different from one another” is subject to enhanced

penalties. Wilson has admitted violating section 922(g) but denies that he has three

prior convictions for a serious drug offense.



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       A serious drug offense is defined to include “an offense under State law,

involving manufacturing, distributing, or possessing with intent to manufacture or

distribute, a controlled substance … for which a maximum term of imprisonment of

ten years or more is prescribed by law.” 18 U.S.C. § 924(e)(2)(A)(ii). Wilson has the

following previous convictions, as noted in his presentence report:

   •   Controlled substance—delivery/manufacture less than 50 grams in the 9th

       Circuit Court for Kalamazoo County in 2002. (R.61: PSR, PageID.222, ¶ 55.)

   •   Controlled substance—delivery/manufacture less than 50 grams in the 9th

       Circuit Court for Kalamazoo County in 2006. (Id. at PageID.224, ¶ 60.)

   •   Controlled substance—delivery/manufacture less than 50 grams in the 31st

       Circuit Court for St. Clair County in 2007. (Id. at PageID.225, ¶ 63.)

   •   Controlled substance—delivery/manufacture less than 50 grams in the 31st

       Circuit Court for St. Clair County in 2007. (Id. at PageID.226, ¶ 64.)

   •   Controlled substance—possession with intent to deliver less than 50 grams of

       heroin in the 3rd Circuit Court for Wayne County in 2012. (Id. at PageID.228,

       ¶ 68.)

All of these convictions were under the laws of the State of Michigan. The Michigan

law that prohibits delivery of controlled substances is Mich. Comp. Laws § 333.7401.

It penalizes delivery of, or possession with intent to deliver, a schedule 1 or 2 narcotic

in an amount less than 50 grams by imprisonment for not more than 20 years. Mich.

Comp. Laws § 333.7401(2)(a)(iv). All of Wilson’s convictions fall under this statute,




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as he delivered cocaine base (crack cocaine) and heroin, which are narcotics, in

amounts of less than 50 grams.

      Wilson therefore has five convictions committed on different occasions. Each

conviction was for delivery or possession with the intent to deliver a controlled

substance in violation of Michigan law. Each was punishable by a maximum term of

20 years. Therefore, he has “three previous convictions by any court … for … a serious

drug offense … committed on occasions different from each other.”

      Wilson argues that his prior convictions should not count as serious drug

offenses because the amounts involved were small. (R.61: PSR, PageID.243.)

However, the definition of serious drug offense as contained in § 924(e) defines a

serious drug offense based on the type of conviction and the penalty the defendant

faced, not the amount of drugs that were involved. See 18 U.S.C. § 924(e)(2)(A)(ii).

      Wilson has pleaded guilty to being a felon in possession of firearms. The

presentence report correctly ascertains that Wilson has had three or more serious

drug convictions, committed on occasions different from one another. Given Wilson’s

current charge and criminal history, he qualifies as an armed career criminal and

shall be “imprisoned not less than fifteen years.” 18 U.S.C. § 924(e)(1).

                          Acceptance of Responsibility

      A defendant may obtain a reduction in his offense level by “clearly

demonstrat[ing] acceptance of responsibility.” U.S.S.G. § 3E1.1(a). Application Note

1(A) to that guideline points out “a defendant who falsely denies, or frivolously

contests, relevant conduct that the court determines to be true has acted in a



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manner inconsistent with acceptance of responsibility.” A defendant bears the

burden of proving by a preponderance of the evidence that a reduction for

acceptance of responsibility is warranted. United States v. Banks, 252 F.3d 801, 806

(6th Cir. 2001).

       The presentence report notes that Wilson “denied any knowledge of drug

trafficking occurring and denied the firearms were possessed in furtherance of drug

trafficking activities.” (R.61: PSR, PageID.217, ¶ 29.) Wilson’s denial about drug

trafficking is belied by:

   •   the controlled buy of cocaine base from Wilson (Id. at PageID.214, ¶ 14),

   •   the cocaine and marijuana seized from the residence (Id. at PageID.215,

       ¶ 16),

   •   the plate, razors, scales, baggies, and lottery tickets consistent with the

       cutting, weighing, and packaging of narcotics, which were also seized from

       the house (Id. at PageID.215 ¶¶ 16-17),

   •   the statement of Wilson’s roommate who knew Wilson sold cocaine and had

       purchased the same from Wilson (Id. at PageID.215, ¶ 19), and

   •   the statement of an unrelated defendant at a proffer about a familiarity with

       Wilson, his history of drug dealing, and his possession of weapons at Hawley

       Street (Id. at PageID.216, ¶ 23).

       The presentence report concludes that by denying these allegations, “the

defendant has denied relevant conduct the probation office believes to be true

through a review of the evidence, and has acted in a manner inconsistent with



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acceptance of responsibility.” (Id. at PageID.244.) The Sixth Circuit has upheld the

denial of an acceptance reduction where the defendant minimized his conduct,

regardless of whether the denied conduct otherwise impacts his sentencing

guidelines. See United States v. Winters, 247 F. App’x 665, 669 (6th Cir. 2007); see

also United States v. Flowers, 476 F. App’x 55, 65 (6th Cir. 2012) (affirming a

district court’s denial of the acceptance reduction when, “[a]t sentencing, Flowers

denied wrongful conduct—possessing a firearm … the district court reasoned that

Flowers’s possession of a firearm was a linchpin for effectuating the drug deal … the

district court’s reasoning [in denying acceptance] mirrors the approach counseled by

the application notes”).

      The government concurs with the presentence report. Wilson’s claim that he

had no knowledge of drug trafficking and did not possess the firearms in

furtherance thereof demonstrates that is not fully accepting responsibility; he is

falsely denying relevant conduct. Therefore, the government agrees that the

reduction in Wilson’s offense level should not be granted under U.S.S.G. § 3E1.1(a).


                                        Respectfully submitted,

                                        ANDREW BYERLY BIRGE
                                        Acting United States Attorney


Date: October 11, 2017                  /s/ Alexis M. Sanford
                                        ALEXIS M. SANFORD
                                        Assistant United States Attorney
                                        330 Ionia, N.W., Suite 501
                                        Grand Rapids, MI 49503
                                        (616) 456-2404



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